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 Fiii in this Information to Identify the case:

  United States Bankruptcy Court for the:


      Southern
 ~===~---
                            District of      Texas
                                          (State)
  Case number (If known):                                        Chapter _lL                                                           D    Check if this Is an
                                                                                                                                            amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                04120
If more space Is needed, attach a separate sheet to this form. On the top of any addltlonal pages, write the debtor's name and the case
number {If known). For more Information, a separate document, Instructions for Bankruptcy Forms for NonM/ndlviduals, Is available.




 1. Debtor's name                                   BRAZOS ELECTRIC POWER COOPERATIVE, INC.


 2.    All other names debtor used
       In the last 8 years
       Include any assumed names,               -Brazos E l e c t r : i i ; - - - - - - - - - - - - - - - - - - - - - -
       trade names, and doing business
       as names



 3.    Debtor's federal Employer
       Identification Number (EIN)



 4.    Debtor's address                         Principal place of business                                   Malling address, if different from principal place
                                                                                                              of business

                                                    7616 Bagby Avenue
                                                Number          Street                                        Number      Street

                                                                                                                PO Box2585
                                                                                                              P.O. Box

                                                    Waco                        TX 76712                        Waco                      TX 76702
                                                City                              State     ZIP Code          City                         State       ZIP Code

                                                                                                              Location of principal assets, If different from
                                                                                                              principal place of business
                                                     McClennan
                                                County
                                                                                                              Number      Street




                                                                                                              City                         State       ZIP Code




 s. Debtor's website (URL)                          www.brazoselectric.com




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Debtor        BRAZOS ELECTRIC POWER COOPERATIVE, INC.                                           Case number (ifknown)_ _ _ _ _ _ _ _ _ _ _ __
              Name




 6.   Type of debtor                       D   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                           D Partnership (excluding LLP)


--~""""'-·---------------
                                          4    Other. Specify:   Texas Non-Profit Electric Cooperative Corporation
                                          A. Check one:
 7.   Describe debtor's business
                                           D Heallh Care Business (as defined In 11U.S.C.§101(27A))
                                           D Single Asset Real Estate (as defined In 11U.S.C.§101(51B))
                                           D Railroad (as defined in 11U.S.C.§101(44))
                                           D Stockbroker (as defined in 11 U.S.C. § 101 (53A))
                                           D Commodity Broker (as defined In 11 U.S.C. § 101 (6))
                                           D Clearing Bank (as defined In 11 U.S.C. § 781 (3))
                                          "¢None of the above


                                          B. Check all that apply:
                                          ~Tax-exempt entity (as described In 26 U.S.C. § 501)
                                          D    Investment company, Including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                               § 80a-3)
                                          D Investment advisor (as defined In 15 U.S.C. § 80b-2(a)(11))


                                          C. NAICS (North American Industry Classification System) 4-dlgit code that best describes debtor. See
                                               http://www.uscourts.gov/four-d!glt-national-association-naics-codes .
                                               2211 _ _
 s. Under which chapter of the            Check one:
    Bankruptcy Code Is the
    debtor filing?                        D    Chapter?
                                          D_phapter 9
                                          1fChapter 11. Check all /hat apply:
      A debtor who ls a "small business
      debtor" must check the first sub-                     D    The debtor Is a small business debtor as defined in 11 U.S.C. § 101 (51 D), and Its
      box. A debtor as defined In                                aggregate noncont!ngent Uquidated debts (excluding debts owed to insiders or
      § 1182(1) who elecls to proceed                            affiliates) are less than $2,725,625. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                           recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                            income tax return or If any of these documents do not exist, follow the procedure In
      "small business debtor") must                              11u.s.c.§1116(1)(8).
      check the second sub-box.                             D The debtor is a debtor as defined in 11 U.S.C. § 1182(1 ), Its aggregale
                                                                 noncontingent liquidated debts (excludlng debts owed to Insiders or affiliates} are
                                                                 less than $7 ,500,000, and It chooses to proceed under Subchapter V of
                                                                 Chapter 11. If this sub-box Is selected, attach the most recent balance sheet,
                                                                 statement of operations, cash-flow statement, and federal Income tax return, or if
                                                                 any of these documents do not exist, follow the procedure 1n 11 U.S.C.
                                                                 § 1116(1)(8).

                                                            D A plan is being filed with this petition.

                                                            D    Acceptances of the plan were solicited pre petition from one or more classes of
                                                                 creditors, In accordance with 11 U.S.C. § 1126(b).

                                                            D    The debtor Is required to file periodic reports (for example, 10K and 10Q) with the
                                                                 Securltles and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                 Exchange Act of 1934. File the Attachment to Voluntary Petillon for Non-lndlviduals Filing
                                                                 for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                            D    The debtor Is a shell company as defined ln the Securities Exchange Act of 1934 Rule
                                                                 12b-2.
                                          D    Chapter 12




 Official Form 201                             Voluntary Petition for Non-lndlviduals Fillng for Bankruptcy                                  page 2
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Debtor       BRAZOS
             Nama
                    ELECTRIC POWER COOPERATIVE, INC.                                                        Case number (if known) _ _ _ _ _ _ _ _ _ _ _ __

                                       -- - ---- -- - - - --- ------- --


 •. Were prior bankruptcy cases                   ~a
    filed by or against the debtor
     within the last 8 years?                      0 Yes.          District _ _ _ _ _ _ _ _ When                                Case number _ _ _ _ _ _ _ __
                                                                                                             MM/ DD/YYYY
     If more than 2 cases, attach a
     separate list.                                                Dislrict - - - - - - - - When                                Case n u m b e r - - - - - - - - -
                                                                                                             MM/ DD /YYYY
                                                                                                                                 - - - - - - --------------------------

 10. Are any bankruptcy cases                      ~a
     pending or being flied by a
     business partner or an                        0    Yes.      Debtor - - - - - - - - - - - - - - - - Relallonshfp
     affiliate of the debtor?
                                                                  District - - - - - - - - - - - - - - - - When
     List all cases. If more than 1,                                                                                                          MM I DD         /YYYY
     attach a separate list.                                      Case number, If known - - - - - - - - - - - -


 11. Why is the case filed Jn this                 Check all that apply:
     district?
                                                  ,,/oebtor has had Its domicile, principal place of business, or princ!pal assets In this district for 180 days
                                                      Immediately preceding the date of this petition or for a tonger part of such 180 days than fn any other
                                                      district.

                                                   0    A bankruptcy case concerning debtor's affillate, general partner, or partnership is pending in this district.



 12. Does the debtor own or have
     possession of any real
                                                  "ff   No
                                                   D    Yes. Answer below for each property that needs Immediate attention. Attach additional sheets If needed.
     property or personal property
     that needs Immediate                                       Why does the property need Immediate attention? (Check all that apply.)
     attention?
                                                                 D    It poses or Is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                                      What Is the hazard? _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

                                                                 D    It needs to be physically secured or protected from the weather.

                                                                 D    It Includes perishable goods or assets that could qulckly deteriorate or lose value without
                                                                      attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                                      assets or other options).

                                                                 D Other _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

                                                                Where Is the property?_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                                                            Number          Street




                                                                                            City                                             State ZIP Code


                                                                Is the property Insured?
                                                                 0    No
                                                                 D    Yes. Insurance a g e n c y - - - - - - - - - - - - - - - - - - - - - - - - -

                                                                           Contact name

                                                                           Phone




             Statistical and administrative Information




 Official Form 201                                      Voluntary Petition for Non-Individuals Filing for Bankruptcy                                     page 3
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Debtor        BRAZOS ELECTRIC POWER COOPERATIVE, INC.                                          Case number(ifknown)._ _ _ _ _ _ _ _ _ _ _ __
              Nam&




 13. Debtor's estimation of              Check one:
       available funds                  -"'i/'Funds wm be available for distribution to unsecured creditors.
                                         D   After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.



 14. Estimated number of
                                         0 1-49                          ::,,,{1,~00-5,~~~                             0 25,001-50,000
                                         0 50-99                          0 5,001-10,000                               0 50,001-100,000
       creditors
                                         0 100-199                        0 10,001-25,000                              0 More than 100,000
                                         0 200-999

                                         0   $0-$50,000                   0   $1,000,001-$10 million                   0;500,000,001-$1 billion
 15. Estimated assets
                                         0   $50,001-$100,000             0   $10,000,001-$50 million                 1fir $1,000,000,001-$10 billion
                                         0   $100,001-$500,000            0   $50,000,001-$100 million                0 $10,000,000,001-$50 bllllon
                                         0   $500,001-$1 million          0   $100,000,001-$500 million               0 More than $50 billion
                                                                         -·-·-·--.    -----.   ------------·-------

                                         0   $0-$50,000                   0   $1,000,001-$10 million                   q,i,500,000,001-$1 billion
 16.   Estimated liabilities             0   $50,001-$100,000             0   $10,000,001-$50 miillon                 16' $1,000,000,001-$10 billion
                                         0   $100,001-$500,000            0   $50,000,001-$100 million                 0 $10,000,000,001-$50 billion
                                         0   $500,001-$1 million          0   $100,000,001-$500 million               0  More than $50 billion



              Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud ls a serious crime. Making a false statement In connection with a bankruptcy case can result In fines up to
            $500,000 or Imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 11. Declaration and signature of            The debtor requests relief In accordance with the chapter of title 11, United States Code, specified in this
       authorized representative of
                                             petition.
       debtor
                                             I have been authorized to file this petition on behalf of the debtor.

                                             I have examined the information in this petition and have a reasonable belief that the Information Is true and
                                             correct.


                                         I declare under penalty of perjury that the foregoing Is true and correct.

                                             Execu         3/1/2021

                                                                                                        Clifton Karnei
                                                                                                       Printed name

                                             Title Exec                e President and General Manager




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Debtor      BRAZOS ELECTRIC POWER COOPERATIVE, INC.                               Case number (iflrnown)_ _ _ _ _ _ _ _ _ _ _ __
             Name




 18. Signature of attorney           /s/ Jason L. Boland                                    Date          3/1/2021
                                   Signature of attorney for debtor                                       MM      /DD IYYYY


                                     Jason L. Boland
                                   Printed name
                                    NORTON ROSE FULBRIGHT US LLP
                                   Firm name
                                     1301 McKinney Street, Suite 5100
                                   Number         Street
                                     Houston                                                       TX               77010
                                   City                                                           State           ZIP Code

                                                                                jason.boland@nortonrosefulbright.com
                                                                                                  Emall address



                                     24040542                                                     TX
                                   Bar number                                                     State




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                   BRAZOS ELECTRIC POWER COOPERATIVE, INC.

                  Authorization of Filing of Voluntary Bankruptcy Petition

                                        February 26,2021

        WHEREAS, the staff and management and outside advisors of Brazos Electric Power
Cooperative, Inc. (the "Company") have had the opportunity to fully consider the financial
situation of the Company and the alternatives available to the Company; and

         WHEREAS, the staff and management and outside advisors of the Company have advised
that it is in the best interests of the Company, its creditors, and other parties in interest that a
petition be filed on behalf of the Company seeking relief under Chapter 1 I of Title I 1 of the United
States Code, 11 U.S.C. $$ 101 et seq. (the "Bankruptcy Code"); and

        WHEREAS, the staff and management and outside advisors of the Company have advised
that the Company could, with the protections afforded under the Bankruptcy Code, be reorganized
into a viable economic enterprise, continuing to serve its members' systems with all of their
requirements for electric energy and ancillary services; and

         WHEREAS, the staff and management of the Company recommend that the Board of
Directors of the Company (the "Board") enter into this Resolution to authorize the Company to
file a voluntary petition for protection under the Bankruptcy Code.

      NOW, THEREFORE, BE IT RESOLVED, that the Board hereby authorizes and
empowers the Company to execute and file a voluntary petition for relief under chapter 1 I of the
Bankruptcy Code, in the United States Bankruptcy Court for the Southern District of Texas,
Houston Division (the "Bankruptcy Case") or such other venue as the Board may designate;

       BE IT FURTHER RESOLVED, that the Board hereby authorizes and empowers each of
the President, the Secretary, and the Executive Vice President and General Manager of the
Company, or any one or more of them or their designees (each, an "Authorized Officer"), for and
on behalf of the Company and in its name, to enter into, execute and deliver, any document
appropriate to facilitate the filing of a voluntary petition for relief under the Bankruptcy Code, as
any Authorized Officer determines necessary or appropriate and in the interests of the Company.

       BE IT FURTHER RESOLVED, that the Board of Directors of the Company hereby
authorizes any Authorized Officer and/or the Vice President - Services, for and on behalf of the
Company and in its name, to sign, execute, certify to, verify, acknowledge, deliver, accept, file,
record and do or cause to be done all such acts and things (including, without limitation, the
preparation and filing of all petitions, notices, schedules, disclosures, applications, statements,
plans and other documents reasonably necessary in furtherance of the Company's interests in a
bankruptcy or related proceeding), to pay or cause to be paid all such costs and expenses and fees
with respect to the filing of a voluntary petition for relief under the Bankruptcy Code, and to
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execute and deliver for and on behalf of the Company and in its name, with or without attestation
of the Secretary or Assistant Secretary of the Company, all documents, instruments, certificates,
agreements, and advance requests, all as may be determined to be necessary or appropriate and in
the interests of the Company by any Authorized Officer or the Vice President Services to carry
                                                                               -
out and comply with the purposes and intent of this Resolution in all respects.

        BE IT FURTHER RESOLVED, that the Authorized Officer is hereby authorized,
directed, and empowered, on behalf of the Company, to employ, and pay any appropriate retainers
or compensation to, the law firm of Norton Rose Fulbright US LLP to represent the Company as
legal counsel to the debtor-in-possession in the prosecution of the Bankruptcy Case, subject to any
necessary approvals by the bankruptcy court in the Bankruptcy Case;

       BE IT FURTHER RESOLVED, that with respect to any litigation in which the Company
is a party or other legal matter, the Authorized Officer is hereby authorized, directed, and
empowered, on behalf of the Company, to employ, and pay any appropriate retainers or
compensation to, the legal counsel representing or to represent the Company as legal counsel in
such matters, subject to any necessary approvals by the bankruptcy court in the Bankruptcy Case;

        BE IT FURTHER RESOLVED, that the Authorized Officer is hereby authorized,
directed, and empowered, on behalf of the Company, to employ, and pay any appropriate retainers
or compensation to, any other professionals, including attorneys Norton Rose Fulbright US LLP,
other legal counsel, financial advisors, accountants, noticing and claims agents, public relations
firms, lobbyists, brokers, and investment bankers, to represent the Company as debtor-in-
possession to assist in the business and administration of the Company in the prosecution of the
Bankruptcy Case, subject to any necessary approvals by the bankruptcy court in the Bankruptcy
Case;

        BE IT FURTHER RESOLVED, the                 Company, as debtor-in-possession in the
Bankruptcy Case, is hereby authorized to obtain the use of cash collateral, in such amounts and on
such terms as may be agreed by a Authorized Officer, including the grant of replacement liens or
other adequate protection, as is reasonably necessary for the continuing conduct ofthe business
and administration of the Company, subject to any necessary approvals by the bankruptcy court in
the Bankruptcy Case;

        BE IT FURTHER RESOLVED, the Company, as debtor-in-possession in the
Bankruptcy Case, is hereby authorized to enter into secured facilities, including post-petition
debtor in possession financing, in such amounts and on such terms as may be agreed by a
Authorized Officer, including the granting of liens and other consideration, as is reasonably
necessary for the continuing conduct of the business and administration of the Company, subject
to any necessary approvals by the bankruptcy court in the Bankruptcy Case;

        BE   IT FURTHER        RESOLVED, that the Authorized Officer is hereby authorized,
directed, and empowered to market the assets of the Company for the possible sale of the
Company's assets in connection with the Bankruptcy Case, provided that any decision on the sale
of such assets is reserved to the Board or such independent director as the Board shall designate
and authorize and subject to any necessary approvals by the bankruptcy court in the Bankruptcy
Case;
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        BE IT FURTHER RESOLVED, that the Authorized Officer is hereby authorized,
directed, and empowered to formulate a chapter I I plan of reorganization for the Company in
connection with the Bankruptcy Case, or, alternatively, to seek dismissal of the Bankruptcy Case
or conversion of the Bankruptcy Case to a case under Chapter 7, provided that any decision on
approval of such plan, dismissal, or conversion is reserved to the Board or such independent
director as the Board shall designate and authorize and subject to any necessary approvals by the
bankruptcy court in the Bankruptcy Case;

        BE IT FURTHER RESOLVED, that the Company, in whatever management capacity it
holds, consents to do all acts necessary or convenient to file chapter I I bankruptcy cases in the
United States Bankruptcy Court for the Westem District of Texas or such other venue as the Board
may designate for (a) Brazos Sandy Creek Electric Cooperative, Inc. and (b) Brazos Electric Power
Cooperative, Inc., as described in these companies' respective consents of even date herewith;

        BE IT FURTHER RESOLVED, that the final determination and approval of the form,
terms and conditions of any document, instrument, certificate, or agreement as provided in this
Resolution to be executed on behalf of the Company pursuant to this Resolution may be
conclusively evidenced by the execution thereof by any Authorized Officer or, to the extent
authorized herein, the Vice President - Services, and the final determination that the taking of any
action or the causing of any action is necessary or appropriate and in the interests of the Company
shall be conclusively evidenced by the taking of such action by any Authorized Officer or, to the
extent authorized herein, the Vice President - Services;

         BE IT FURTHER RESOLVED, that the Board of Directors of the Company hereby
ratifies and confirms all actions taken and documents, instruments, certificates, letters and other
papers executed or delivered by the Company prior to the date hereof in connection with the
transactions approved in this Resolution.

                                  ,F     ,<      ,1.       *       *

       I, Candace Denton, Assistant Secretary of Brazos Electric Power Cooperative, Inc., do
hereby certify that the above and foregoing is a true and correct copy of resolutions duly passed at
a meeting of the Board of Directors of the Company, held via conference call, on the 26'h day    of
February 2021.

Given under my hand and seal of the Company, this 26th day of February, 2021.




                                                       C       e
                                                       Assistant Secretary



       ISeal]
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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

    In re:                                                 §
                                                           §             CASE NO. 21-_____
    BRAZOS ELECTRIC POWER                                  §
    COOPERATIVE, INC.,                                     §             Chapter 11
                                                           §
              Debtor. 1                                    §


                          STATEMENT OF CORPORATE OWNERSHIP FOR
                          BRAZOS ELECTRIC POWER COOPERATIVE, INC.

             Now comes Brazos Electric Power Cooperative, Inc. (the “Debtor”), pursuant to Fed. R.

Bankr. P. 1007(a)(1) and (a)(3) and 7007.1, and states:

1. Fed. R. Bankr. P. 1007(a)(1) provides in pertinent part:

             (1) Voluntary Case. . . .. If the debtor is a corporation, other than a governmental
             unit, the debtor shall file with the petition a corporate ownership statement
             containing the information described in Rule 7007.1. The debtor shall file a
             supplemental statement promptly upon any change in circumstances that renders
             the corporate ownership statement inaccurate.

2. Fed. R. Bankr. P. 7007.1 provides:

             (a) Required Disclosure. Any corporation that is a party to an adversary proceeding,
             other than the debtor or a governmental unit, shall file two copies of a statement
             that identifies any corporation, other than a governmental unit, that directly or
             indirectly owns 10% or more of any class of the corporation’s equity interests, or
             states that there are no entities to report under this subdivision.

3. Fed. R. Bankr. P. 1007(a)(3) provides:

             (3) Equity Security Holders. In a chapter 11 reorganization case, unless the court
             orders otherwise, the debtor shall file within 14 days after entry of the order for
             relief a list of the debtor’s equity security holders of each class showing the number


1
 The Debtor in this chapter 11 case, along with the last four digits of its federal tax identification number is: Brazos
Electric Power Cooperative, Inc. (4729). Additional information regarding this case may be obtained on the website
of the Debtor’s proposed claims and noticing agent at http://cases.stretto.com/Brazos. The Debtor’s address is 7616
Bagby Avenue, Waco, TX 76712.




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         and kind of interests registered in the name of each holder, and the last known
         address or place of business of each holder.

4. Accordingly, Debtor provides the following information:

         Debtor is a non-profit Texas cooperative corporation formed under the Texas
         Electric Cooperative Corporation Act. Persons that directly or indirectly own 10%
         or more of any class of the corporation’s equity interests: none. Debtor has 16 equal
         members.

         A list of the debtor’s equity security holders of each class showing the number and
         kind of interests registered in the name of each holder, and the last known address
         or place of business of each holder. See Attached Exhibit A.

         Signature page follows




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         I declare w1der penalty of pe1jmy that the foregoing is true and correct to the best of my

knowledge, information, and belief.

         Isl

                                               Clifton rnei
                                               Executi Vice President and General Manager
                                               Brazos ectric Power Cooperative, Inc.




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                                         EXHIBIT A

                  BRAZOS ELECTRIC POWER COOPERATIVE, INC.
                   List of Members [each own 1/16 member interest]

    1. Bartlett Electric Cooperative, Inc. – 27492 State Highway 95, Bartlett, Texas 76511.

    2. Heart of Texas Electric Cooperative, Inc. – 1111 Johnson Drive, P.O. Box 357,
       McGregor, Texas 76657.

    3. Comanche County Electric Cooperative Association – 349 Industrial Blvd., P.O. Box
       729, Comanche, Texas 76442.

    4. Denton County Electric Cooperative, Inc., dba CoServ Electric – 7701 S. Stemmons,
       Corinth, Texas 76210-1842.

    5. Fort Belknap Electric Cooperative, Inc. – 1302 W. Main St., P.O. Box 486, Olney Texas
       76364; Olney.

    6. Hamilton County Electric Cooperative Association – 420 North Rice, P.O. Box 753,
       Hamilton, Texas 76531.

    7. HILCO Electric Cooperative, Inc. – 115 East Main Street, P.O. Box 127, Itasca, Texas
       76055.

    8. J-A-C Electric Cooperative, Inc. – 1784 FM 172, Henrietta, Texas 76365-7108.

    9. Mid-South Electric Cooperative Association – 7625 Highway 6, P.O. Box 970, Navasota,
       Texas 77868.

    10. Navarro County Electric Cooperative, Inc. – 3800 W. Highway 22, Corsicana, Texas
        75110; P.O. Box 616 Corsicana, Texas 75151.

    11. Navasota Valley Electric Cooperative, Inc. – 2281 E. US Hwy 79, P.O. Box 848,
        Franklin, Texas 77856.

    12. Cooke County Electric Cooperative Association, dba PenTex Energy – 11799 West U.S.
        Highway 82, P.O. Box 530, Muenster, Texas 76252.

    13. South Plains Electric Cooperative, Inc. – 4727 S. Loop 289, Ste. 200, Lubbock, Texas
        79424; P.O. Box 1830, Lubbock, Texas 79408.

    14. Tri-County Electric Cooperative, Inc. – 600 N.W. Parkway, Azle, Texas 76020.

    15. United Electric Cooperative Services, Inc., dba United Cooperative Services – 2601 S.
        Burleson Blvd., Burleson, Texas, 76028; P.O. Box 1809, Burleson, Texas 76097.

    16. Wise Electric Cooperative, Inc. – 1900 N. Trinity St., P.O. Box 269, Decatur, Texas
        76234.


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                                     Patronage Accounts
         As of December 31, 2020, the estimated patronage capital allocations per Co-Op Member

were as follows:



                    Co-Op Member                            Patronage Allocation
                                                                   1.5%
                    Bartlett Electric Cooperative
                                                                   2.0%
                    Comanche Electric Cooperative
                                                                   30.8%
                    CoServ Electric
                                                                   1.1%
                    Fort Belknap Electric Cooperative
                                                                   1.8%
                    Hamilton County Electric Cooperative
                                                                   3.2%
                    Heart of Texas Electric Cooperative
                                                                   4.0%
                    HILCO Electric Cooperative
                                                                   0.9%
                    J-A-C Electric Cooperative
                                                                   4.5%
                    Mid-South Synergy
                                                                   3.5%
                    Navarro County Electric Cooperative
                                                                   3.2%
                    Navasota Valley Electric Cooperative
                                                                   3.6%
                    PenTex Energy
                                                                   3.4%
                    South Plains Electric Cooperative
                                                                   17.6%
                    Tri-County Electric Cooperative
                                                                   14.6%
                    United Electric Cooperative Services
                                                                   4.3%
                    Wise Electric Cooperative
                          Total Patronage Capital                 100%




95400959.3                                            -5-
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    Fill in this information to identify the case:

    Debtor name      Brazos Electric Power Cooperative, Inc.

    United States Bankruptcy Court for the:   Southern                          District of   Texas
                                                                                              (State)
    Case number (If known):


                                                                                                                                                  Check if this is an amended filing

      Official Form 204
      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims
      and Are Not Insiders                                                                    12/15
      A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not include claims by
      any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the unsecured claim resulting from
      inadequate collateral value places the creditor among the holders of the 20
      largest unsecured claims.
      Name of creditor and complete mailing              Name, telephone number, and email        Nature of the claim      Indicate if     Amount of unsecured claim
      address, including zip code                        address of creditor contact              (for example, trade      claim is        If the claim is fully unsecured, fill in only unsecured claim
                                                                                                  debts, bank loans,       contingent,     amount. If claim is partially secured, fill in total claim amount
                                                                                                  professional services,   unliquidated,   and deduction for value of collateral or setoff to calculate
                                                                                                  and                      or disputed     unsecured claim.
                                                                                                  government contracts)

                                                                                                                                           Total claim, if       Deduction for value Unsecured claim
                                                                                                                                           partially secured     of collateral or
                                                                                                                                                                 setoff

1      Electric Reliability Council of Texas             7620 Metro Center Drive                  ERCOT Collateral Disputed                                                              $1,809,469,233
                                                         Austin, Texas 78744
                                                         512-225-7000
2      Bank of America, N.A.                             Building C, 2380 Performance             Bank Line of                                                                           $ 479,975,000
                                                         Dr.                                      Credit
                                                         TX2-984-03-23
                                                         Richardson, TX, 75082
                                                         469-201-0888
                                                         traci.r.kuketz@baml.com
3      Tenaska Power Services Co.                        14302 FNB Parkway                        Power Supplier                                                                         $    84,249,504
                                                         Omaha, NE 68154
                                                         Telephone: 817-303-1113
4      J. Aron & Company                                 J. Aron & Company                        Interest Rate Swap                                                                     $    76,234,169
                                                         85 Broad Street                          and Power
                                                         New York, New York 10004                 Derivatives
                                                         212-902-1944
                                                         ficc-swaps-
                                                         collateral@ny.email.gs.com
5      Morgan Stanley Capital Group Inc.                 Morgan Stanley Capital Group             Interest Rate Swap                                                                     $    69,026,959
                                                         Inc                                      and Power
                                                         1585 Broadway                            Supplier
                                                         NY 10036
                                                         212-761-4000
                                                         msdoddfrankdeliveryemail@ms.c
                                                         om
                                                         dftermagreement@ms.com
6      Bank of Tokyo                                     The Bank of Tokyo-Mitsubishi,            Interest Rate Swap                                                                     $    67,420,781
                                                         Ltd, New York Branch
                                                         Harborside Financial Center,
                                                         Plaza III
                                                         Jersey City, NJ 07311
                                                         201-413-8151
7      Mercuria Energy America Inc.                      20 East Greenway Plaza Suite             Natural Gas                                                                            $    61,146,360
                                                         650                                      Supplier
                                                         Houston TX 77046
                                                         832-531-7630
                                                         Jschneider@mercuria.com
8      Shell Energy North America (US),                  201 W North River Dr Ste 610             Power Supplier                                                                         $    39,497,900
       L.P.                                              Spokane, WA, 99201-2262                  and Power
                                                         509-688-6000                             Derivatives
9      Concord Energy, LLC                               1401 17th St #1500                       Natural Gas                                                                            $    37,382,500
                                                         Denver, CO 80202                         Supplier
                                                         303-468-1241
                                                         William.Warburton@cem.concor
                                                         denergy.com



       Official Form 204                                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                    page 1
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     Debtor        Brazos Electric Power Cooperative, Inc.                                                            Case number (if known )
                     Name

     Name of creditor and complete mailing          Name, telephone number, and email   Nature of the claim      Indicate if       Amount of unsecured claim
     address, including zip code                    address of creditor contact         (for example, trade      claim is          If the claim is fully unsecured, fill in only unsecured claim
                                                                                        debts, bank loans,       contingent,       amount. If claim is partially secured, fill in total claim amount
                                                                                        professional services,   unliquidated,     and deduction for value of collateral or setoff to calculate
                                                                                        and                      or disputed       unsecured claim.
                                                                                        government contracts)

                                                                                                                                  Total claim, if        Deduction for value Unsecured claim
                                                                                                                                  partially secured      of collateral or
                                                                                                                                                         setoff


10   Tenaska Marketing Ventures                     11718 Nicholas Street               Natural                                                                                  $    30,081,550
                                                    Omaha. NE 68154                     Gas
                                                    402-758-6172                        Supplier
                                                    contractcomp@tenaska.com
11   Wells Fargo Bank N.A.                          Wells Fargo Bank, N.A.              Interest                                                                                 $    29,681,704
                                                    45 Fremont Street, 30th Floor       Rate Swap
                                                    San Francisco, CA 94105
                                                    WellsDoddFrankDocs@wellsfarg
                                                    o.com
12   NJR Energy Services Company                    1415 Wyckoff Road                   Natural                                                                                  $    26,079,125
                                                    PO Box 1464                         Gas
                                                    Wall, NJ 07719                      Supplier
                                                    732-938-1196
13   ETC Marketing, Ltd                             800 E Sonterra Blvd, Suite 400      Power                                                                                    $    15,472,799
                                                    San Antonio, TX 78258-8941          Supplier
                                                    210-403-7400
14   J.P. Morgan                                    JPMorgan Chase Bank                 Interest                                                                                 $    12,507,324
                                                    Collateral Middle Office            Rate Swap
                                                    Americas 3/OPS2
                                                    500 Stanton Christiana Road
                                                    Newark, Delaware 19713
                                                    302-634-3191
                                                    collateral_services@jpmorgan.co
                                                    m
15   Merrill Lynch Commodities, Inc.                20 Greenway Plz Ste 700             Power                                                                                    $      6,943,491
                                                    Houston, TX, 77046-2006             Supplier
                                                    832-681-5904                        and Power
                                                                                        Derivative
                                                                                        s

16   Total Gas & Power North America,               1201 Louisiana St Ste 1600          Natural                                                                                  $      5,344,400
     Inc.                                           Houston, TX, 77002-5605             Gas
                                                    713-483-5000                        Supplier
17   Koch Energy Services, LLC                      4111 East 37th Street North         Natural                                                                                  $      3,263,075
                                                    Wichita, KS 67220                   Gas
                                                    316-828-8559                        Supplier
                                                    wilsonl@kochind.com
18   Pike Electric                                  100 Pike Way                        Trade                                                                                    $      2,556,980
                                                    Mount Airy, NC, 27030-8147
                                                    336-789-2171
19   Freepoint Commodities LLC                      58 Commerce Road                    Natural Gas                                                                              $      1,652,055
                                                    Stamford CT, 06902                  Supplier
                                                    203-542-6000
                                                    DL-LegalNotices@freepoint.com
20   Michels Corporation                            145 Huguenot St #406                Trade                                                                                    $      1,511,163
                                                    New Rochelle, NY 10801
                                                    914-363-0585



     Official Form 204                              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                 page 2
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     Debtor        Brazos Electric Power Cooperative, Inc.                                                            Case number (if known )
                    Name

     Name of creditor and complete mailing          Name, telephone number, and email   Nature of the claim      Indicate if       Amount of unsecured claim
     address, including zip code                    address of creditor contact         (for example, trade      claim is          If the claim is fully unsecured, fill in only unsecured claim
                                                                                        debts, bank loans,       contingent,       amount. If claim is partially secured, fill in total claim amount
                                                                                        professional services,   unliquidated,     and deduction for value of collateral or setoff to calculate
                                                                                        and                      or disputed       unsecured claim.
                                                                                        government contracts)

                                                                                                                                  Total claim, if        Deduction for value Unsecured claim
                                                                                                                                  partially secured      of collateral or
                                                                                                                                                         setoff


21   Exelon Corporation                             1310 Point St., 8th Floor           Power Derivatives                                                                        $      1,411,838
                                                    Baltimore, MD 21231
22   Breaux, Ernest P Electrical                    2812 Par Rd 515                     Trade                                                                                    $      1,380,877
                                                    New Iberia, LA 70560
                                                    337-364-8183
23   Mica Steelworks, Inc                           4201 Old Denton Rd                  Trade                                                                                    $      1,286,034
                                                    Haltom City, TX 76117
                                                    817-581-9500
24   Conoco Phillips                                600 North Dairy Ashford (CH         Power Derivatives                                                                        $      1,242,009
                                                    1081) Houston, TX 77079
25   Nextera Energy Marketing, LLC                  700 Universe Blvd                   Power Supplier                                                                           $      1,204,952
                                                    Juno Beach, FL 33408
                                                    561-691-7171
26   Sun Coast Resources, Inc.                      6405 Cavalcade St                   Trade                                                                                    $        906,876
                                                    Houston, TX 77026
                                                    713-844-9600
27   Cima Energy LP                                 1221 McKinney St., Suite 4150       Natural Gas                                                                              $        887,480
                                                    Houston, Texas 77010                Supplier
                                                    713-209-1112
28   Techline, Inc.                                 9609 Beck Cir                       Trade                                                                                    $        841,851
                                                    Austin, TX, 78758-5401
                                                    512-833-5401
29   Siemens Energy, Inc                            4400 Alafaya Trail                  Trade                                                                                    $        750,000
                                                    Orlando, FL 32826- 2399
                                                    407-736-2000
30   Lower Colorado River Authority                 LCRA P.O. Box 220 Austin, TX        Power Supplier                                                                           $        657,545
                                                    78767



     Official Form 204                              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                 page 3
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  Fill In this Information to identify the case and this filing:


                  Brazos Electric Power Cooperative, Inc.
  Debtor N a m e - - - - - - - - - - - - - - - - - - - - - - - -
  United States Bankruptcy court for the: _S_o_u_t_h_e_r_n_ _ _ _ _ District of Texas
                                                                              (State)
  Case number (If/mown):




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15
An Individual who Is authorized to act on behalf of a non-Individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and llabllitles, any other document that requires a declaration that Is not included in the document,
and any amendments of those documents. This form must state the Individual's position or relationship to the debtor, the Identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING~-   Bankruptcy fraud Is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud In
connection with a bankruptcy case can result in fines up to $500,000 or Imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



               Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership: or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information ls true and correct:


         D      Schedule AIB: Assets-Real and Personal Property (Official Form 206A/B)

         D      Schedule D: Creditors Who Have Claims Secured by Property (Official Form 2060)

         D      Schedule EIF: Creditors Who Have Unsecured Claims (Official Form 206EIF)

         D      Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

         0      Schedule H: Codebtors (Official Form 206H)

         0      Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

         D      Amended Schedule

         Ill    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

         1!1    other document that requires a declaration_C_o_r_p_o_r_a_te_O_w_n_e_rs_h_ip_S_t_a_te_m_e_n_t_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




         I declare under pe ally


         Executed on           \ wr-\
                           MM/DD/ YYY




                                                                   Executive Vice President and General Manager
                                                                Position or relationship to debtor



Official Form 202                          Declaration Under Penalty of Perjury for NonMlndividual .Debtors
